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AO239^Rev^01/15)App!icationt^mcee^^DisrtctC^^^itl^i|                ing Fees or Costs (Long Form)

                                                •   j/
                                   United States District Court
                                                                                                                  3) rsfffdtaf^k                       /O



                     Plaintiff/Petitioner
                                            &A €<^0
                                                                         )                    Civil Action No.                               ^
                  Defendant/Respon^nt                                                                                                      ill
                                                                                                                          I
        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)



 Affidavit in Support of the Application                              Instructions


 1 am a plaintiff or petitioner in this case and declare              Complete all questions in this application and then sign it.
 that 1 am unable to pay the costs of these proceedings               Do not leave any blanks: if the answer to a question is "0,"
 and that I am entitled to the relief requested. I declare            "none," or "not applicable (N/A)," write that response. If
 under penalty of perjury that the information below is               you need more space to answer a question or to explain your
 true and understand that a false statement mqy result in             answer, attach a separate sheet of paper identified with your
 a dismissal of my       ms.                                          name, your case's docket number, and the question number.

 Signed;                                                              Date: 03^^3^ D'1^.                                                   j^
1.       For both you and your spouse estimate the average amount of money received from each of the following
         sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
         semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
         for taxes or otherwise.

                  Income source                            Average monthly income                                      Income amount expected
                                                           amount during the past 12                                           next month
                                                                                          months
                                                                    You                              Spouse              You                Spouse
Employment                                                                                                                      0.00 $            0.00
                                                      $                             0.00 $                    0.00 $

Self-employment
                                                      $                             0.00 $                    0.00 $            0.00 $            0.00

Income from real property (such as rental income)
                                                      $                             0.00 $                    0.00 $            0.00 $             0.00

Interest and dividends
                                                      $                             0.00 $                    0.00 $            0.00 $             0.00
Gifts
                                                      $                             0.00 $                    0.00 $            0.00 $             0.00
Alimony
                                                      $                             0.00 $                    0.00 $            0.00 $             0.00
Child support                                                                                                 0.00 $            0.00   $          O.OOj
                                                      $                             0.00 $
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